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Attorneys for Defendant
ANNA IYERUSALIMETS


             IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF IDAHO
                 (HONORABLE B. LYNN WINMILL)


UNITED STATES OF AMERICA, )              CR18-258-S-BLW
                          )
      Plaintiff,          )              UNOPPOSED MOTION FOR
                          )              DISCLOSURE OF GRAND JURY
  vs.                     )              INSTRUCTIONS
                          )
PAVEL BABICHENKO,         )
GENNADY BABITCHENKO,      )
PIOTR BABICHENKO,         )
TIMOFEY BABICHENKO,       )
KRISTINA BABICHENKO,      )
NATALYA BABICHENKO,       )
DAVID BIBIKOV,            )
ANNA IYERUSALIMETS,       )
MIKHAIL IYERUSALIMETS,    )
ARTUR PUPKO,              )
                          )
      Defendants.         )
                          )

TO:   BART M. DAVIS, UNITED STATES ATTORNEY
      KATE HORWITZ, ASSISTANT UNITED STATES ATTORNEY
      JOHN CHARLES DEFRANCO, ATTORNEY FOR PAVEL
      BABICHENKO


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      ELLEN NICHOLE HORRAS SMITH, ATTORNEY FOR MIKHAIL
      IYERUSALIMETS
      GABRIEL J. MCCARTHY, ATTORNEY FOR ARTUR PUPKO

      ANNA IYERUSALIMETS, by and through her attorneys, Samuel

Richard Rubin and Melissa Winberg for the Federal Defender Services of

Idaho, respectfully asks the Court to authorize the government to disclose to

the defense the legal instructions to the grand jury in this case. This request

is unopposed.

                              BACKGROUND

      On August 14, 2018, the grand jury returned a thirty-four count

indictment charging ten people—Ms. Iyerusalimets and nine co-defendants—

with Conspiracy to Commit Wire Fraud, Wire Fraud, Mail Fraud, Conspiracy

to Traffic in Counterfeit Goods, and Conspiracy to Launder Money. (ECF No.

1.)

      In the course of providing discovery, the government subsequently

provided a transcript of the grand jury proceedings to the defense. The

government has not yet disclosed the legal instructions it gave to the grand

jury. While the government is not opposed to providing those instructions to



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the defense, it is not comfortable doing so without a court order authorizing

the disclosure. Ms. Iyerusalimets accordingly asks the Court to authorize this

disclosure to the defense.

                                DISCUSSION

      In this district, the government is “authorized, pursuant to Fed. R. Crim.

P. 6(e), to disclose grand jury materials to the defense counsel, defense counsel

support staff . . . and the defendant,” with the understanding that each will

“act as custodians of any grand jury information disclosed under this

Procedural   Order,”   including    by    “preserv[ing]   and   protect[ing]   the

confidentiality of th[e] [disclosed] information.” General Order 319(I)(9).

      Because grand jury instructions are “grand jury materials,” General

Order 319 authorizes the government to disclose them to the defense—and this

Court should confirm that authorization.

      Even if grand jury instructions do not qualify as “grand jury materials,”

an order authorizing disclosure of the government’s legal instructions to the

grand jury would be both lawful and in keeping with the policy of General

Order 319. Unlike some grand jury materials, the government’s legal

instructions to the grand jury “do not implicate any of the concerns typically

cited in support of grand jury secrecy.” United States v. Facteau, 2016 WL

4445741, at *4 (D. Mass. 2016). Because of this—even in districts that do not

have a standing authorization for disclosure of grand jury materials—the


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government’s legal instructions to the grand jury are disclosable as a matter of

course, and without any showing of “particularized need.” United States v.

Diaz, 236 F.R.D. 470, 477–78 (N.D. Cal. 2006); see United States v. Belton, 2015

WL 181273, at *3 (N.D. Cal. Apr. 21, 2015) (collecting cases standing for the

proposition that “defendants are entitled to the transcript of the instructions

and charges to the grand jury” without any showing of particularized need);

see also United States v. Alter, 482 F.2d 1016, 1029 n.21 (9th Cir. 1973) (“Alter

was entitled to know the content of the court’s charges to the grand jury.”).

      Based on this authority, and given that the government does not oppose

Ms. Iyerusalimets’s request for the government’s instructions to the grand

jury, Ms. Iyerusalimets respectfully asks the Court to authorize the

government to disclose those instructions to the defense.

                                CONCLUSION

      For the reasons stated above, Ms. Iyerusalimets respectfully asks the

Court to authorize the government to disclose the government’s instructions to

the grand jury that returned the indictment in this case.




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Dated: March 27, 2019

Respectfully submitted,
                                   SAMUEL RICHARD RUBIN
                                   FEDERAL PUBLIC DEFENDER
                                   By:

                                   /s/ Samuel Richard Rubin
                                   Samuel Richard Rubin
                                   Federal Public Defender
                                   Federal Defender Services of Idaho
                                   Attorneys for Defendant
                                   ANNA IYERUSALIMETS




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                         CERTIFICATE OF SERVICE

     I CERTIFY that I am an employee of the Federal Defender Services of

Idaho, and that a copy of the foregoing document, UNOPPOSED MOTION

FOR DISCLOSURE OF GRAND JURY INSTRUCTIONS, was served on all

parties named below on this 27th day of March, 2019.

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Dated: March 27, 2019             /s/ Joy Fish
                                  Joy Fish




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